Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 1 of 18 PageID #: 4704




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA,

                                                                  MEMORANDUM & ORDER
                 - against –
                                                                  18-CR-538 (MKB)

NG CHONG HWA also known as ROGER NG,

                                    Defendant.
---------------------------------------------------------------

MARGO K. BRODIE, United States District Judge:

         Count Two of the Second Superseding Indictment in this case charges Defendant Ng

Chong Hwa, also known as Roger Ng, with conspiracy to circumvent Goldman Sachs’s internal

accounting controls in violation of the Foreign Corrupt Practices Act (“FCPA”), 15 U.S.C.

§ 78m(b)(2)(B), 78m(b)(5), and 78ff(a), by withholding accurate information and providing

inaccurate information to Goldman Sachs regarding his codefendant Low Taek Jho’s

involvement in the 1Malaysia Development Berhad (“1MDB”) bond deals in order to obtain

authorization for the deals. (Second Superseding Indictment ¶¶ 63–65, Docket Entry No. 105.)

Trial commenced on February 14, 2022, and after several weeks of testimony, the Government

rested its case on March 24, 2022. (Tr. 4363.) At the end of the Government’s case, Ng orally

moved for a judgment of acquittal pursuant to Rule 29 of the Federal Rules of Criminal

Procedure, (Tr. 4365), and filed a written supplemental motion for acquittal on March 26, 2022,

(Def.’s Mot. for Acquittal (“Def.’s Mot.”), Docket Entry No. 186). On March 27, 2022, the

Government filed a written opposition to Ng’s motion to supplement its oral opposition. (Gov’t

Opp’n to Def.’s Mot. (“Gov’t Opp’n”), Docket Entry No. 189.)
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 2 of 18 PageID #: 4705




        The Court denied the motion on the record on March 28, 2022, (Tr. 4704), and explains

its reasons below.

   I.   Background

            a.   The FCPA’s internal accounting controls provision

        The “internal accounting controls” provision of the FCPA provides that “[e]very issuer

which has a class of securities registered pursuant to [15 U.S.C. § 78l] and every issuer which is

required to file reports pursuant to [15 U.S.C. § 78o(d)]” shall:

                 (B)   devise and maintain a system of internal accounting controls
                       sufficient to provide reasonable assurances1 that —
                       (i)     transactions are executed in accordance with
                               management’s general or specific authorization;
                       (ii)    transactions are recorded as necessary
                               (I)     to permit preparation of financial statements
                                       in conformity with generally accepted
                                       accounting principles or any other criteria
                                       applicable to such statements, and
                               (II)    to maintain accountability for assets;
                       (iii)   access to assets is permitted only in accordance with
                               management’s general or specific authorization; and
                       (iv)    the recorded accountability for assets is compared
                               with the existing assets at reasonable intervals and
                               appropriate action is taken with respect to any
                               differences.

15 U.S.C. § 78m(b)(2)(B). Section 78m(b)(5) of the statute makes it a crime for any person to

“knowingly circumvent or knowingly fail to implement a system of internal accounting controls

or knowingly falsify any book, record, or account described in [the above] paragraph.” Id.

§ 78m(b)(5). Section 78ff(a) sets forth the penalties for violating the statute. See id. § 78ff(a).

In the charges against Ng, the Government is proceeding under subsections (i) and (iii) of the




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           “Reasonable assurances” means a degree of assurance that “would satisfy prudent
officials in the conduct of their own affairs.” 15 U.S.C. § 78m(b)(7).



                                                  2
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 3 of 18 PageID #: 4706




internal accounting controls provision, which require issuers to provide reasonable assurances

that transactions are executed, and that access to assets is permitted, “with management’s general

or specific authorization.” (Gov’t Opp’n 3–4 (citing 15 U.S.C. § 78m(b)(2)(B)(i), (iii)).)

          b.   Allegations

       Count Two of the Second Superseding Indictment alleges that Ng “conspire[d] . . . to

knowingly and willfully circumvent and cause to be circumvented a system of internal

accounting controls at Goldman Sachs” through commission of the following overt acts in

furtherance of the conspiracy:

               (a) On or about January 15, 2009, a high-ranking official at
               1MDB’s predecessor entity, TIA, advised LOW, NG and [Tim
               Leissner] that it was “best to get [LOW] involve[d] at every stage”
               of a TIA transaction that was being handled by Goldman.

               (b) On or about January 27, 2009, NG and [Leissner] discussed via
               email whether to disclose to the Intelligence Group at Goldman
               LOW’s involvement in the [TIA transaction], and decided not to
               make such disclosure.

               (c) On or about April 30, 2011, NG, using a private, non-Goldman
               email account, forwarded an email from LOW to [Leissner] at a
               private, non-Goldman email account, and advised [Leissner] “this
               is Roger FYI.” The content of the forwarded email from LOW
               discussed potential business with 1MDB.

               (d) On or about May 5, 2011, LOW emailed NG at a private, non-
               Goldman email account and requested a document related to
               potential business with 1MDB, and further directed NG “pls do not
               state names.” NG then forward[ed] that email to [Leissner] at a
               private, non-Goldman email account and asked for [Leissner’s]
               help with that request.

               (e) On or about February 7, 2012, LOW emailed [Jasmine Loo] at
               a private, non-1MDB email account, copying NG and [Leissner] at
               private, non-Goldman email accounts, as well as another person at
               an anonymized email account, regarding a draft document in
               connection with the asset sale related to Project Magnolia. LOW
               asked NG and [Leissner] “Any comments?” and wrote “No name
               pls.”



                                                3
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 4 of 18 PageID #: 4707




               (f) During a telephone call in mid to late March 2012, [Leissner]
               falsely stated to a senior member of the Intelligence Group at
               Goldman that LOW was not involved in Project Magnolia.

               (g) On or about April 4, 2012, [Leissner] falsely stated in a
               committee meeting at Goldman attended by NG that LOW was not
               involved in Project Magnolia other than to set up one meeting with
               an Abu Dhabi official. The meeting was also attended by
               committee members and others located in New York, New York
               using Goldman’s telecommunication facilities, which transited
               through the Eastern District of New York.

               (h) On or about May 12, 2012, [Leissner], using a private, non-
               Goldman email account, forwarded an email from LOW to NG at a
               private, non-Goldman email account, which included a timeline
               related to closing details for Project Magnolia.

               (i) On or about May 18, 2012, a member of the Project Magnolia
               deal team sent an email to the members of two Goldman
               committees, among others, in which she stated that “we have now
               completed all committee follow up items,” including various
               approvals.

               (j) On or about October 10, 2012, [Leissner] falsely stated in a
               committee meeting at Goldman that LOW was not involved in
               Project Maximus. The meeting was attended by committee
               members and others located in New York, New York using
               Goldman’s telecommunication facilities, which transited through
               the Eastern District of New York.

               (k) On or about April 24, 2013, [Leissner] falsely stated to a senior
               employee of Goldman based in New York, New York who was
               also a member of a committee that reviewed the 1MDB bond
               transactions, that there was no intermediary involved in any of the
               three 1MDB bond transactions and, specifically, that LOW was not
               involved in Projects Magnolia, Maximus or Catalyze. 2

(Second Superseding Indictment ¶¶ 64–65.)




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          The Government did not proceed on overt acts (f), (j), or (k). (Gov’t Letter Regarding
Updated Jury Instructions 1 n.1, Docket Entry No. 194; Jury Instructions 48–49, Docket Entry
No. 197.)


                                                4
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 5 of 18 PageID #: 4708




          c.   Motion to dismiss

       In a ruling addressing Ng’s motion to dismiss Count Two, the Court found that the

Superseding Indictment “sufficiently states an offense under 15 U.S.C. § 78m(b)(2)(B).” (Mem.

and Order 63, Docket Entry No. 83.) The Court held that “[b]ecause the Superseding Indictment

alleges that Ng and others conspired to conceal information from the groups at [Goldman]

responsible for enforcing [its] internal accounting controls, and that, had the concealed

information been known, it would have triggered an investigation in accordance with those

controls that likely would have prevented the authorization of the bond transactions and access to

the assets used to purchase the bonds, the allegations in Count Two are sufficient to state an

offense under these sections.” (Id. at 64 (citation omitted).)

       In denying Ng’s motion, the Court observed that “[w]hile the FCPA’s internal accounting

controls provision is ‘supportive of accuracy and reliability in the auditor’s review and financial

disclosure process, this provision should not be analyzed solely from that point of view.’” (Id. at

60 (quoting S.E.C. v. World-Wide Coin Invs. Ltd., 567 F. Supp. 724, 749–50 (N.D. Ga. 1983)).)

“Rather, ‘[t]he internal controls requirement is primarily designed to give statutory content to an

aspect of management stewardship responsibility, that of providing shareholders with reasonable

assurances that the business is adequately controlled.’” (Id. (quoting World-Wide Coin Invs.

Ltd., 567 F. Supp. at 749–50 (discussing section 78m(b)(2)(B))).)

          d.   Evidence at trial

       At trial, the Government presented evidence that the bond deals Goldman arranged and

underwrote for 1MDB required the authorization of Goldman’s Firmwide Capital Committee

and Firmwide Suitability Committee. (See Gov’t Opp’n 2 (citing exhibits).) The Government

also presented evidence that Goldman Sachs had an internal accounting control that addressed




                                                  5
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 6 of 18 PageID #: 4709




the risk of unauthorized deals and that required that the “Deal Captain” on a deal “receive

appropriate approval and authorization before execution.” (Tr. 4152–53 (discussing GX 952, a

printout from Goldman’s database of internal accounting controls).) Committee members

testified about facts that the committee would need to know in considering whether to authorize

the transactions, including:

               (1) the identities of any intermediaries or key decisionmakers for
               1MDB, even if they did not hold an official position with 1MDB,
               Trial Tr. at 286–87, 3059–60, 3655–57; (2) that 1MDB would make
               a significant monetary payment, in addition to awarding options, as
               consideration for IPIC’s guarantee of the bonds, Trial Tr. at 284–86,
               3053, 3654; (3) that certain deal team members had a personal
               financial interest in the transactions, Trial Tr. at 287–88, 3060, 3657;
               and (4) that the approval of the deals by officials in Malaysia and
               Abu Dhabi was procured through bribery, Trial Tr. at 3060–61,
               3657.

(Gov’t Opp’n 3.) “Leissner testified that he and [Ng] did not disclose these facts because they

knew that, if they told the truth, the committees would not authorize the transactions.” (Id.

(citing Tr. 568, 912–20, 2428).)

  II. Discussion

          a.   Rule 29

       Rule 29 provides, in relevant part, that:

               [a]fter the government closes its evidence or after the close of all the
               evidence, the court on the defendant’s motion must enter a judgment
               of acquittal of any offense for which the evidence is insufficient to
               sustain a conviction. The court may on its own consider whether
               the evidence is insufficient to sustain a conviction. If the court
               denies a motion for a judgment of acquittal at the close of the
               government’s evidence, the defendant may offer evidence without
               having reserved the right to do so.

Fed. R. Crim. P. 29(a); United States v. Pugh, 945 F.3d 9, 19 (2d Cir. 2019). “[T]he critical

inquiry on review of the sufficiency of the evidence to support a criminal conviction must be . . .

to determine whether the record evidence could reasonably support a finding of guilt beyond a


                                                   6
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 7 of 18 PageID #: 4710




reasonable doubt.” Jackson v. Virginia, 443 U.S. 307, 318 (1979); Pugh, 945 F.3d at 19 (“The

test for sufficiency . . . is whether a rational jury could conclude beyond a reasonable doubt that a

defendant is guilty of the crime charged.” (quoting United States v. Eppolito, 543 F.3d 25, 45 (2d

Cir. 2008))). In determining whether the evidence is sufficient, courts “‘view the evidence

presented in the light most favorable to the government[,]’ and ‘[a]ll permissible inferences must

be drawn in the government’s favor.’” United States v. Landesman, 17 F.4th 298, 319 (2d Cir.

2021) (alterations in original) (quoting United States v. Guadagna, 183 F.3d 122, 129 (2d Cir.

1999)). Under this inquiry, “the relevant question is whether, after viewing the evidence in the

light most favorable to the prosecution, any rational trier of fact could have found the essential

elements of the crime beyond a reasonable doubt.” Jackson, 443 U.S. at 319 (citing Johnson v.

Louisiana, 406 U.S. 356, 362 (1972)); United States v. Zhong, 26 F.4th 536, 560 (2d Cir. 2022)

(“A defendant . . . cannot prevail on a sufficiency-of-the-evidence challenge ‘if any rational trier

of fact could have found the essential elements of the crime beyond a reasonable doubt.’”

(quoting United States v. Kozeny, 667 F.3d 122, 139 (2d Cir. 2011))).

          b.   Defendant’s motion

       The parties both argue that the plain meaning and legislative history of the internal

accounting controls provision supports their theory of the case.

                  i.   Ng’s arguments

       Ng argues that the Government has read the word “accounting” out of the “internal

accounting controls” provision, and contends that if this word is to be given any effect, it is clear

that internal “accounting” controls are “a limited and defined set of controls” that are “only one

aspect of a company’s total control system” and that are to be distinguished from legal,

risk-management, compliance, and other controls. (See Def.’s Mot. 10–13.) Ng also argues that




                                                  7
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 8 of 18 PageID #: 4711




the provision’s legislative history supports his interpretation because a Senate report indicates

that the internal accounting controls provision was a response to the historical problem of

companies “play[ing] games” with their own books and records in order to be able to pay bribes,

(Tr. 4484), in the recognition that, “[i]n the past, corporate bribery ha[d] been concealed by the

falsification of corporate books and records,” (Def.’s Mot. 10 (quoting S. Rep. No. 95-114

(1977))). In support of this argument, Ng quotes the Senate’s report and argues that “[b]ecause

the accounting profession ha[d] defined the objectives of a system of accounting control, the

definition of the objectives [in the statute was] taken from the authoritative accounting

literature,” (id. (quoting S. Rep. No. 95-114)), and therefore “[w]hat is required to define,

understand, implement and assess an ‘internal accounting control’ under the FCPA is a matter of

accounting and auditing, and not broadly a legal, compliance or other controls matter,” (id. at

11).

       Ng urges the Court to look to the interpretation of section 78m(b)(5) adopted by the U.S.

Securities and Exchange Commission (the “SEC”) and argues that the SEC explicitly rejected a

broader definition of “internal accounting controls over financial reporting” under the Sarbanes

Oxley Act, which requires public companies to maintain “internal control over financial

reporting” that provides “reasonable assurance regarding the reliability of financial reporting and

the preparation of financial statements for external purposes in accordance with generally

accepted accounting principles,” (id. at 14 (first citing 15 U.S.C. § 7262; and then citing 17

C.F.R. § 240.13a-15(f))), noting that its definition was “consistent with the description of

internal accounting controls” in the FCPA’s internal accounting controls provision, (id. (quoting

Management’s Report on Internal Control Over Financial Reporting and Certification of

Disclosure in Exchange Act Periodic Reports, Exchange Act Release No. 34-47986, 80 SEC




                                                  8
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 9 of 18 PageID #: 4712




Docket 1014 (June 5, 2003))). In addition, Ng argues that the Government’s broad interpretation

of the internal accounting controls provision “is unsupported by prior civil cases that have

interpreted the exact same statute in SEC matters.” (id. at 1; see also id. at 21–26.)

       Based on his interpretation of the statute, Ng argues that the Court must grant his Rule 29

motion because (1) the Government failed to present evidence that any accounting controls were

violated, as there is “no evidence” that the alleged conduct in this case had any impact on the

accuracy of Goldman’s accounting or financial reporting as an issuer of securities, (see, e.g., id.

at 7, 11); (2) there is no violation of the FCPA because there is no dispute that the transactions

were authorized by the appropriate committees and executed in accordance with that

authorization, (see id. at 16, 18–21); and (3) if the Government’s broad theory is accepted, “[a]n

enormous swath of conduct, never contemplated by Congress, would be swept within the ambit

of the FCPA,” rendering section 78m(b)(5) constitutionally vague as applied, (see id. at 16, 26–

29).

                  ii.   The Government’s arguments

       The Government’s “theory is that [Ng] conspired to circumvent Goldman’s internal

accounting controls by obtaining authorization [of the bond deals] from [Goldman’s] Firmwide

Capital Committee and . . . Firmwide Suitability Committee through providing false information

to, and withholding accurate information from, the committees.” (Gov’t Opp’n 3; Tr. 4482–83.)

The Government argues that, because subsections (i) and (iii) of the internal accounting controls

provision “plainly designate[] management authorization of transactions and access to assets as

part of a system of internal accounting controls, the [G]overnment has properly relied” on these

committees’ “authorization of the 1MDB bond deals in presenting its case.” (Gov’t Opp’n 4.)

Focusing on the common meaning of the word “circumvent” — which is “to manage to get




                                                  9
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 10 of 18 PageID #: 4713




 around especially by ingenuity or stratagem” — the Government further argues that the statute

 “plainly reaches circumvention through acts of deception.” 3

        The Government also argues that the statute’s legislative history supports its

 interpretation of the statute because (1) the Senate’s 1977 report on the internal accounting

 controls provision “underscore[d] the importance of ‘management’s stewardship responsibility’

 and the need both ‘to provide shareholders with reasonable assurances that the business is

 adequately controlled’ and ‘to furnish shareholders and potential investors with reliable financial

 information.’” (Id. (quoting S. Rep. No. 95-114).) In addition, the Government argues that, in

 adding a scienter requirement to the statute in 1988, Congress intended for criminal penalties to

 apply to “conduct calculated to evade the internal controls requirement,” (id. (quoting H.R. Rep.

 No. 100-576, 917 (1988) (Conf. Rep.))), and to read the statute as Ng suggests, such that

 “‘circumvent’ has a cabined meaning that does not include obtaining authorization through fraud

 or deception,” would lead to absurd results, as it would encourage such conduct. (Id. at 5.)

            c.   The plain language of the statute encompasses the conduct in this case

        Statutory construction “begin[s] with the language of the statute,” and “[i]f the statutory

 language is unambiguous, [courts] construe the statute according to the plain meaning of its

 words.” Katz v. Focus Forward, LLC, 22 F.4th 368, 372 (2d Cir. 2022) (quoting United States

 ex rel. Wood v. Allergan, Inc., 899 F.3d 163, 171 (2d Cir. 2018)); see also Springfield Hosp., Inc.

 v. Guzman, 28 F.4th 403, ---, 2022 WL 790689, at *9 (2d Cir. Mar. 16, 2022) (construction

 begins with “plain text” of statute); United States v. Gayle, 342 F.3d 89, 92 (2d Cir. 2003)

 (“Statutory construction begins with the plain text and, if that text is unambiguous, it usually



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           (Gov’t Opp’n 4 (quoting Circumvent, Merriam-Webster Dictionary,
 https://www.merriamwebster.com/dictionary/circumvent (last visited Apr. 8, 2022); and then
 citing Circumvent, Black’s Law Dictionary (11th ed. 2019)).)


                                                  10
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 11 of 18 PageID #: 4714




 ends there as well.”). “In looking at a statute’s plain meaning, [courts] also must consider the

 context in which the statutory terms are used, as ‘[courts] do not . . . construe statutory phrases in

 isolation; [they] read statutes as a whole.’” Springfield Hosp., Inc., 28 F.4th at ---, 2022 WL

 790689, at *9 (quoting United States v. Morton, 467 U.S. 822, 828, (1984)); Saks v. Franklin

 Covey Co., 316 F.3d 337, 345 (2d Cir. 2003) (“The text’s plain meaning can best be understood

 by looking to the statutory scheme as a whole and placing the particular provision within the

 context of that statute.”). This is also true where the issue of construction is the use of the word

 “and” as opposed to the word “or.” See Mizrahi v. Gonzales, 492 F.3d 156, 164 (2d Cir. 2007)

 (“[C]ourts resolving difficult issues of construction will consider how a disjunctive or

 conjunctive form fits into the statutory scheme as a whole.”).

        “If . . . [a] statutory provision [is] ambiguous . . . , ‘[courts] then turn to canons of

 statutory construction for assistance in interpreting the statute.’” United States v. Rowland, 826

 F.3d 100, 108 (2d Cir. 2016) (quoting Greathouse v. JHS Sec. Inc., 784 F.3d 105, 111 (2d Cir.

 2015)). Courts “resort to legislative history only if, after consulting canons of statutory

 instruction, the meaning remains ambiguous.” Id.; see also Allergan, Inc., 899 F.3d at 171

 (“[W]hen the terms are ambiguous or unclear[,] [courts] consider legislative history and other

 tools of statutory interpretation.”). Under the canon of absurdity, it is “well-established that ‘[a]

 statute should be interpreted in a way that avoids absurd results.’” Gibbons v. Bristol-Myers

 Squibb Co., 919 F.3d 699, 705 (2d Cir. 2019) (alteration in original) (quoting S.E.C. v.

 Rosenthal, 650 F.3d 156, 162 (2d Cir. 2011)). “[C]ourts should look beyond a statute’s text

 under the canon against absurdity ‘only where the result of applying the plain language would

 be, in a genuine sense, absurd, i.e., where it is quite impossible that Congress could have

 intended the result and where the alleged absurdity is so clear as to be obvious to most anyone.’”




                                                   11
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 12 of 18 PageID #: 4715




 Id. at 705–06 (quoting Catskill Mountains Chapter of Trout Unlimited, Inc. v. U.S. EPA, 846

 F.3d 492, 517 (2d Cir. 2017)).4

        The statute requires issuers to “devise and maintain a system of internal accounting

 controls.” 15 U.S.C. § 78m(b)(2)(B). Although the statute does not define “internal accounting

 controls,” and while the Court could read these words in isolation and interpret the statute to

 apply only to a limited subset of controls specifically related to accounting, a literal reading of

 the statute, in its entirety, would be inconsistent with such a narrow reading. The statute defines

 an adequate system of internal accounting controls by reference to the objectives of such a

 system, and the plain language of the statute indicates that such systems are intended not only to

 provide reasonable assurances of accurate internal accounting for purposes of external financial

 reporting, as addressed by objectives (ii) and (iv), but also to provide reasonable assurances that

 the company is adequately controlled, as addressed by objectives (i) and (iii), under which the

 Government is proceeding against Ng. Objectives (i) and (iii) indicate that the system of

 controls must include controls that will reliably ensure that transactions are executed, and access

 to assets is permitted, in accordance “with management’s general or specific authorization.” Id.

 § 78m(b)(2)(B)(i), (iii). As the facts of this case demonstrate, “circumvention” of such a system



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           In making his oral motion, Ng argued that the Government cannot pick and choose
 which objective(s) of an internal accounting control system it charges him with conspiring to
 circumvent because, in setting forth these objectives, the statute joins them with the conjunctive
 word “and,” such that he can only be found liable for conspiring to knowingly circumvent a
 system of internal accounting controls if he conspired to circumvent all of the objectives of the
 system that the statute lists. (See Tr. 4472–75.) However, in his supplemental motion, Ng
 appears to abandon this argument. While the use of the conjunctive “and” in section
 78m(b)(2)(B) indicates that issuers must devise and maintain a system of internal accounting
 controls that meets all four objectives, section 78m(b)(5) does not require a person to violate
 controls related to all four objectives. Rather, it criminalizes the knowing circumvention of “a
 system of internal accounting controls . . . described in paragraph (2).” 15 U.S.C. § 78m(b)(5).
 Because the system must contain controls devised to meet all four objectives, an attempt to
 circumvent controls related to any objective is an attempt to circumvent part of the system.


                                                  12
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 13 of 18 PageID #: 4716




 does not depend on the falsification of a book or record — which the statute specifically

 addresses in a separate provision. See id. § 78m(b)(2)(A) (“books and records” provision).

 Rather, subsections (i) and (iii) are aimed at ensuring the effective discharge of managements’

 stewardship responsibility, and they explicitly contemplate that an attempt to circumvent

 management’s informed authorization for transactions and access to assets may violate the

 statute.5

         Thus, applying the law as the Court understands it to the evidence presented, and viewing

 the evidence in the light most favorable to the prosecution, the Court cannot conclude that the

 evidence is insufficient to sustain a conviction. A rational trier of fact could find the essential

 elements of the crime beyond a reasonable doubt.




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            Although Ng argues that the Government’s interpretation of the statute is unsupported
 by prior civil case law, (Def.’s Mot. 21–26), these decisions are not helpful to the Court’s task.
 In two of these cases, the SEC did not allege circumvention of internal accounting controls. See
 S.E.C. v. China Ne. Petroleum Holdings Ltd., 27 F. Supp. 3d 379, 393–94 (S.D.N.Y. 2014)
 (books and records violation); S.E.C. v. Stanard, No. 06-CV-7736, 2009 WL 196023, at *30
 (S.D.N.Y. Jan. 27, 2009) (books and records and failure to implement controls). In another case,
 the court provided examples of what might constitute an internal accounting control, confining
 them to the subset of controls Ng argues the statute is limited to, and dismissed allegations that
 the defendants had circumvented a system of internal accounting controls because the complaint
 failed to allege a particular control that was violated. See S.E.C. v. Patel, No. 07-CV-39, 2009
 WL 3151143, at *25–27 (D.N.H. Sept. 30, 2009). The bulk of the cases Ng cites demonstrate
 that one way to violate the statute is by providing false information to auditors. See S.E.C. v.
 Retail Pro, Inc., 673 F. Supp. 2d 1108, 1141–42 (S.D. Cal. 2009) (stating that “[e]vidence
 showing that a person misled company auditors can support a claim that the person knowingly
 circumvented a company’s system of internal accounting controls” and collecting cases Ng
 cites). Lastly, one case describes the purpose of the statute as ensuring accurate books and
 records, which the books and records provision addresses, and, in a footnote, as ensuring that
 issuers use accepted methods of accounting. See United States v. Wittig, 425 F. Supp. 2d 1196,
 1216 n.39, 1217 (D. Kan. 2006), rev’d sub nom. United States v. Lake, 472 F.3d 1247 (10th Cir.
 2007). However, none of these cases engages in an analysis of the plain meaning of the statute,
 which the Court finds to be broader than Ng contends based on a literal reading of the statute’s
 objectives.


                                                   13
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 14 of 18 PageID #: 4717




           d.   The statute is not vague as applied

        Ng argues that, if the statute is interpreted as the Government suggests, to include

 conduct that does not have a “proven effect on . . . financial statements,” then it is “void for

 vagueness as applied” to him. (Def.’s Mem. 26.) In support, he argues that a statute is void for

 vagueness “if its prohibitions are not clearly defined,” (id. at 27 (quoting Arriaga v. Mukasey,

 521 F.3d 219, 222 (2d Cir. 2008))), and that if the Court looks “to the dictionary definition of the

 term ‘accounting,’ as well as to the ‘widely-accepted core meaning’ of the term ‘accounting,’” it

 will conclude that an “internal accounting control” is “a control that directly relates to the

 preparation and accuracy of financial statements,” (id.). To conclude otherwise, Ng argues,

 “would potentially criminalize vast — and indefinite — amounts of activity,” such as his use of

 personal email accounts at work, such that public companies’ “businesses and employees could

 find themselves indicted” for compliance violations that have “nothing to do with the company’s

 financial statements or accounting,” which would be “contrary to the words of the law, the

 legislative history of the law, and prior decisions interpreting the law.” (Id. at 27–29; see also id.

 at 17 (arguing that the Government’s theory would lead to “draconian results” by criminalizing

 “all manner of false statements made by employees” and providing hypothetical examples of

 employees withholding information to gain committee approval for loans).)

        The Government argues that Ng’s hypothetical examples can be set aside “in the context

 of an as-applied challenge,” as “the facts of this case bear no resemblance to those hypothetical

 scenarios.” (Gov’t Opp’n 5.) In support, the Government argues that, “[u]nlike the examples

 hypothesized in [Ng’s] brief, the information [he] withheld from the Firmwide Capital

 Committee and the Firmwide Suitability Committee . . . included the involvement of an

 exceptionally high-risk individual with whom the firm had previously refused to do business, the




                                                  14
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 15 of 18 PageID #: 4718




 fact that bond proceeds would be used to pay hundreds of millions of dollars in bribes to foreign

 officials in both Malaysia and Abu Dhabi, and information that materially changed the economic

 structure of the deal.” (Id.) Therefore, the Government argues, “[e]ven if there were a line to

 draw regarding the statute’s reach[,] . . . it need not be drawn in this case.” (Id.)

        To ensure that persons are not denied liberty without due process, “the void-for-

 vagueness doctrine requires that a penal statute define the criminal offense with sufficient

 definiteness that ordinary people can understand what conduct is prohibited and in a manner that

 does not encourage arbitrary and discriminatory enforcement.” Beckles v. United States, 580

 U.S. ---, ---, 137 S. Ct. 886, 892 (Mar. 6, 2017) (quoting Kolender v. Lawson, 461 U.S. 352, 357

 (1983)); United States v. Dawkins, 999 F.3d 767, 787 (2d Cir. 2021) (same). “The ‘void-for-

 vagueness doctrine addresses concerns about (1) fair notice and (2) arbitrary and discriminatory

 prosecutions.’” United States v. Scott, 979 F.3d 986, 993 (2d Cir. 2020) (quoting Skilling v.

 United States, 561 U.S. 358, 412 (2010)).

        “Under the ‘fair notice’ prong, a court must determine ‘whether the statute, either

 standing alone or as construed, made it reasonably clear at the relevant time that the defendant’s

 conduct was criminal.’” United States v. Napout, 963 F.3d 163, 181 (2d Cir. 2020) (quoting

 United States v. Halloran, 821 F.3d 321, 338 (2d Cir. 2016)); Copeland v. Vance, 893 F.3d 101,

 110 (2d Cir. 2018). “This requirement assures that statutes do not ‘lull the potential defendant

 into a false sense of security, giving him no reason even to suspect that his conduct might be

 within its scope.’” United States v. Houtar, 980 F.3d 268, 273 (2d Cir. 2020) (quoting United

 States v. Herrera, 584 F.2d 1137, 1149 (2d Cir. 1978)). “Statutes need not, however, achieve

 ‘meticulous specificity,’ which would come at the cost of ‘flexibility and reasonable breadth.’”

 Id. (quoting Arriaga, 521 F.3d at 224). “[T]he more important aspect of [the] vagueness doctrine




                                                   15
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 16 of 18 PageID #: 4719




 ‘is not actual notice, but [the arbitrary enforcement prong],” Kolender, 461 U.S. at 358, which

 “requires that a statute give ‘minimal guidelines’ to law enforcement authorities, so as not to

 ‘permit a standardless sweep that allows policemen, prosecutors, and juries to pursue their

 personal predilections,’” Mannix v. Phillips, 619 F.3d 187, 197 (2d Cir. 2010) (quoting

 Kolender, 461 U.S. at 358). In deciding the adequacy of these guidelines, the Second Circuit has

 held that a court can uphold the statute on two alternate grounds:

                (1) that [the] statute as a general matter provides sufficiently clear
                standards to eliminate the risk of arbitrary enforcement or (2) that,
                even in the absence of such standards, the conduct at issue falls
                within the core of the statute’s prohibition, so that the enforcement
                before the court was not the result of the unfettered latitude that law
                enforcement officers and factfinders might have in other,
                hypothetical applications of the statute.

 Houtar, 980 F.3d at 277 (alteration in original) (quoting Farrell v. Burke, 449 F.3d 470, 494 (2d

 Cir. 2006)). “Outside of the First Amendment context, [courts] look to whether the ‘statute is

 vague as applied to the particular facts at issue.’” Scott, 979 F.3d at 993 (quoting Holder v.

 Humanitarian Law Project, 561 U.S. 1, 18 (2010)). “The vagueness issue on an as-applied

 challenge is not whether the statute’s reach is clear in every application, but whether it is clear as

 applied to the defendant’s conduct.” Houtar, 980 F.3d at 276 (citing Holder, 561 U.S. at 21).

        In view of the facts presented at trial, the Court cannot conclude that the internal

 accounting controls provision is vague as applied. As discussed above, the statute’s text

 provides fair notice that a conspiracy to circumvent internal controls related to management’s

 authorization of transactions and access to assets is a criminal offense. An ordinary person

 would understand that conspiring to withhold critical information and provide inaccurate

 information to Goldman’s Firmwide Capital Committee and Firmwide Suitability Committee in

 order to procure their authorization for the bond deals in this case would constitute unlawful

 circumvention of Goldman’s internal accounting controls. See Houtar, 980 F.3d at 275 (“In an


                                                   16
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 17 of 18 PageID #: 4720




 as-applied vagueness challenge, the inquiry ‘begins with the text of the [statute],’ and asks

 ‘whether the [statute’s] language conveys sufficiently definite warning as to the proscribed

 conduct when measured by common understanding.’” (citation omitted) (alterations in original)

 (first quoting VIP of Berlin, LLC v. Town of Berlin, 593 F.3d 179, 187 (2d Cir. 2010); and then

 quoting Rubin v. Garvin, 544 F.3d 461, 467 (2d Cir. 2008))). Although Ng argues that the

 common meaning of the word “accounting” limits the statute to the preparation and accuracy of

 financial statements, and that a broader interpretation is contrary to prior caselaw and his

 hypothetical examples, the Court has concluded, based on a literal reading of the statute, that it

 has a broader reach, and, as the Government argues, the scenarios Ng relies on have limited

 relevance in the context of an as-applied challenge. Id. at 276 (“Because [the] vagueness inquiry

 depends primarily on the text of the challenged statute, caselaw scenarios are of limited

 relevance.” (citation omitted) (citing VIP of Berlin, LLC, 593 F.3d at 187)).

        In addition, in setting forth the objectives of a system of internal accounting controls, the

 statute provides, “as a general matter,” the necessary “minimal guidelines” to avoid arbitrary law

 enforcement. Farrell, 449 F.3d at 494. The statute does not sweep so broadly as to criminalize

 the “most basic compliance violation,” such as the use of a personal email address at work, as Ng

 suggests. (Def.’s Mot. 28–29.) Rather, as the Government argues, there is ample evidence that

 Ng agreed with Leissner and others “to conceal material facts from [Goldman Sach’s internal]

 committees in order to obtain their approval,” including the involvement of Low, with whom the

 firm had previously refused to conduct business several times, Low’s decision-making role at

 1MDB, and the bribery scheme, knowing that the committees would not have approved the bond

 deals “if they were presented with full and accurate information.” (Gov’t Opp’n 6.) Based on

 the statute’s applicability to knowing and willful circumvention of internal accounting controls,




                                                  17
Case 1:18-cr-00538-MKB Document 202 Filed 04/08/22 Page 18 of 18 PageID #: 4721




 including controls related to management’s authorization of transactions and access to assets, the

 statute is not unconstitutionally vague as applied to this conduct.

   III. Conclusion

        For the reasons discussed above, the Court denied Defendant’s Rule 29 motion with

 respect to Count Two.

 Dated: April 8, 2022
        Brooklyn, New York

                                                       SO ORDERED:


                                                               s/ MKB

                                                       MARGO K. BRODIE
                                                       United States District Judge




                                                  18
